     Case 9:20-ap-01033-MB          Doc 6 Filed 06/18/20 Entered 06/18/20 14:28:32                  Desc
                                     Main Document Page 1 of 2


1    Larry D. Webb Sbn 229344
     Law Office Of Larry Webb
2    484 Mobil; Suite 43
     Camarillo, Ca 93010                                                  FILED & ENTERED
3    Phone 805 987 1400
     Email Webblaw@gmail.com                                                     JUN 18 2020
4    Attorney for Plaintiff

5                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                            Central District of California
                                                                            BY ortiz      DEPUTY CLERK
6
                               UNITED STATES BANKRUPTCY COURT
7
                                 CENTRAL DISTRICT OF CALIFORNIA
8
                                         NORTHERN DIVISION
9

10
      In re: Michael A. Hershman                        Chapter 7
11                                                      Case No:9:20-bk-10254-MB
12
                                  Debtor                Adversary Case No: 9:20-ap-01033-MB
13    In re: Linda J. Hershman
                                                        [proposed]
14                                Joint Debtor          ORDER ON STIPULATION TO CONTINUE
                                                        DATES TO RESPOND TO ADVERSARY
15                                                      COMPLAINT AND STATUS CONFERENCE

16 _______________________________________
      Castle Real Estate Investments, LLC          STATUS CONFERENCE
17                                                 Date: 08-26-2020
18                                                 Time: 2:30PM
                                         PLAINTIFF Dept: 201
19
      vs.
20    Michael A. Hershman
      Linda J. Hershman
21
                                   DEFENDANT[S]
22

23
            Plaintiff Castle Real Estate Investments, LLC and Defendants Michael A. Hershman and
24   Linda J. Hershman lodged with the Court their stipulation to continue the defendant’s response
25   date and the status conference to allow for time for defendants to obtain counsel and respond to

26   the complaint.

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28                                                                                                  Page 1
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1
            The Court having considered the stipulation and good cause appearing, finds and directs
2    as follows:
3           IT IS ORDERED THAT:
4                  1. The date for Defendant to respond to the complaint is continued to July 20, 2020.
5                  2. The status conference is continued to August 26, 2020 at 2:30 PM.
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22        Date: June 18, 2020

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                                                      -2-
27
                                                  Stipulation
28
